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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
§
DAVID SAMBRANO, et al., individually, §
and on behalf of all others similarly situated,  §
§ Civil Action No.
Plaintiffs, §
§ 4:21-CV-01074-P
Vv. §
§
UNITED AIRLINES, INC., §
§
Defendant. §

JOINT STATUS REPORT

Pursuant to the Court’s November 4, 2022 Order (ECF No. 151), Plaintiffs Sambrano,
Castillo, Hamilton, Jonas, and Kincannon (“Plaintiffs”) and Defendant United Airlines, Inc.
(“United” or “Defendant”) hereby submit the following Joint Status Report. The Parties have
conferred and share the Court’s desire for this case to move forward expeditiously now that the
matter is back in front of the Court after eight months pending on interlocutory appeal.

Since the September 16, 2022 Status Conference, counsel for Plaintiffs have been working
to obtain right to sue letters from the Equal Employment Opportunity Commission. Plaintiffs
obtained right to sue letters for each of the Plaintiffs on September 30, 2022. However, while
working on their amended complaint, Plaintiffs determined that they would also amend the
complaint to include, at most, three additional plaintiffs. Accordingly, Plaintiffs’ counsel have
been working to obtain those right to sue letters as well. That process has also taken longer than
Plaintiffs anticipated, but Plaintiffs expect to have those letters within the next couple of weeks
(though the exact timing remains in the EEOC’s hands). The parties agree that Plaintiffs will file

their amended complaint no later than 14 days after receipt of the last right to sue letter for the
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additional proposed Plaintiffs.

As the Parties stated in their September 7 joint status report, they will conduct a Rule 26
conference no later than fourteen days following Plaintiffs’ filing their second amended complaint,
and will then file a Rule 26 report ten days thereafter. The Parties will then be prepared to proceed

with two months of class discovery and to move forward promptly with the case.
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Dated: November 9, 2022

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